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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF
                               MISSOURI ST. LOUIS DIVISION

 In the Matter of A.A. and A.J.A.                 )
                                                  )
 Alain Armand,                                    )
                                                  )
                         Petitioner,              )
                                                  )       Case No. 4:24-cv-00974-JSD
v.                                                )
                                                  )
 Priscilla Moxam Armand,                          )
                                                  )
                         Respondent.              )
                                                  )

                                        MOTION TO STRIKE

COMES NOW ALAIN ARMAND (“Petitioner”) and files the instant motion to strike the answer filed by

the Respondent, Priscilla Moxam Armand. Petitioner requests that the Court enter an order requiring

Respondent to file a new answer removing all immaterial defenses and exhibits referencing all immaterial

assertions and that her new answer be limited to asserting only valid defenses raised in her original

answer, without the addition of new defenses. In support of the foregoing motion, Petitioner submits the

following:




     1. The instant matter, seeking the return of the parties’ two minor children to France pursuant

         to the Hague Convention, was filled with the Court on July 15, 2024. This petition (the

         “Petition”) is filed pursuant to The Convention on the Civil Aspects of International Child

         Abduction, done at the Hague on October 25, 19801 (hereinafter the “Hague Convention"

         or “Convention") and the International Child Abduction Remedies Act (hereinafter

         "ICARA") 22 U.S.C. § 9001. The Convention came into effect in the United States of

         America on July 1, 1988 and was also ratified between the United States of America and

         France on July 1,
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      1988. A copy of the Hague Convention and ICARA are annexed here as Exhibit A and B,

      respectively. The objects of the Convention are as follows: (1) to secure the immediate

      return of children wrongfully removed or wrongfully retained in any Contracting State; and

      (2) to ensure that rights of custody and of access under the law of one Contracting State are

      effectively respected in other Contracting States. Convention, art. 1.

   2. The Convention applies to cases in which one parent wrongfully removes and retains his or

      her children, who is under the age of sixteen (16) years, from the children’s “habitual

      residence” in breach of the other parent’s custodial rights, which were being exercised at

      the time of the wrongful retention of the children. Hague Convention, Art. 3.



   3. The parties are the biological parents of two minor children, a 14-year-old daughter A.A.,

      and a 12 year-old son A.J.A. (the “Children”). On approximately April 4, 2024, the

      Children were wrongfully removed from France and retained in the United States by the

      Children’s mother, Respondent Priscilla Moxam Armand, without Petitioner's prior

      knowledge or consent.

   4. Fed.R.Civ.P. 12(f) states, in pertinent part, that: "[u]pon motion made by a party ... the

      court may order stricken from any pleading any insufficient defense or any redundant,

      immaterial, impertinent, or scandalous matter."

   5. The Hague Convention specifies the limited defenses that may be asserted in response to a

      petition for return of a child pursuant to the Hague Convention. Those defenses are limited

      to the following: (i) the non-traveling parent was not exercising his rights to custody; (ii)

      the non-traveling parent acquiesced to the move; (iii) the child is of sufficient age and

      objects to being returned; (iv) the child is well-settled in the new environment; (v) grave

      risk of physical or psychological harm if the child is returned; and (vi) fundamental

      principles relating to the protection of Human Rights and fundamental freedoms do not

      permit return of the child. See Article 13 of the Hague Convention.
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   6. On October 4, 2024, Respondent filed her verified answer (the “Answer”) to the Petition.

        In Section B of her Answer, Respondent purports to raise certain defenses to the Petition.

        Numerous factual assertions made by Respondent are insufficient to constitute a defense

        or are “immaterial, impertinent, or scandalous.” Accordingly, Petitioner requests that the

        following paragraphs and related exhibits in the Answer be stricken: ¶¶ 1-8, 13, 14, and

        16.

   7.    Paragraph 1: In paragraph 1, Respondent claims that, in the past, she and the children

        have returned from France to the United States on a long term and short term basis without

        Petitioner. This paragraph falls short of asserting that Petitioner acquiesced to Respondent

        traveling to the United States on April 4, 2024, the date that is pertinent to the Petition.

        Nor does Respondent assert that Petitioner expressly or tacitly agreed that Respondent may

        temporarily, indefinitely, or permanently move the parties’ children to the United States.

        Therefore, this paragraph constitutes an insufficient defense, is irrelevant, and impertinent.

   8. Paragraphs 2 - 8: These paragraphs allege certain claims concerning Petitioner’s history

        with his family. The assertions are scandalous, irrelevant, and made with the intent to

        improperly prejudice the trier of fact. They are made with the intent to harass Petitioner

        and do not relate to any cognizable defense. Even if they were true, the Hague Convention

        defenses to returning a child to the habitual residence, including the “grave risk of harm”

        exception, are prospective, not retrospective. See Sierra v. Tapasco, Case No.

        4:15-CV-00640 (SD Tex. September 28, 2016)(past acts of domestic abuse are insufficient

        to show grave risk of harm); see also, Sanchez v. R.G.L.,761 F. 3d 495, 509 (5th Cir. 2014).

   9. Paragraphs 13, 14, and 16: These paragraphs do not relate to any defense to the Petition.

        Respondent basically asserts that she has been the breadwinner during the past several

        years. Although Petitioner is gainfully employed, neither this fact nor Respondent’s status

        of breadwinner is relevant to or a defense to the unlawful and unauthorized removal of the

        parties’ children.
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   10. For the foregoing reasons, Petitioner requests that the Answer be stricken and that

      Respondent be required to file a new answer deleting these purported defenses (and related

      exhibits).




      Dated: October 22, 2024
      Auffargis, France


                                                    /s/ Alain Armand_____
                                                   Alain Armand
                                                   Pro Se
                                                   6 Rue de la Fontaine Roy
                                                   78610 Auffargis France
                                                   1-636-368-2331(USA)
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                                         VERIFICATION


        I, Alain Armand, solemnly declare and affirm under the penalty of perjury under the laws

 of the United States of America, that I am the petitioner in the within action and have read the

 foregoing Petition and know the contents of the foregoing Petition are true and correct, to the best

 of my knowledge, except as to those matters alleged upon information and belief.

 Dated: October 22, 2024

                                                      _ /s/ Alain Armand____
                                                      Alain Armand


                               CERTIFICATE OF SERVICE


I hereby certify that a true copy of the foregoing Motion to Strike was served (by mail) (by hand
delivery) on all parties of record in this cause, this 22nd day of October, 2024.


                                                       _ /s/ Alain Armand____
                                                      Alain Armand
